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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
    v.                                                :       Case No. 1:21-cr-191 (JEB)
                                                      :
RYAN ZINK                                             :
                                                      :
                                                      :
     Defendant.                                       :


         CONSENT MOTION TO DISMISS COUNT ONE OF THE INDICTMENT

         Pursuant to Federal Rule of Criminal Procedure 48(a), the United States of America, by

and through undersigned counsel, and with the consent and agreement of defense counsel,

respectfully moves for an order of this Court to dismiss Count One of the Indictment, charging

the Defendant with Obstruction of an Official Proceeding in violation of 18 U.S.C. § 1512(c)(2).

This motion is made in the interest of justice and in order to clarify and simplify the issues to be

resolved at the sentencing hearing, which is scheduled for September 20, 2024.

                                                              Respectfully submitted,

                                                              MATTHEW M. GRAVES
                                                              UNITED STATES ATTORNEY
                                                              D.C. Bar Number 481052


                                                      By:     /s/ Cari F. Walsh
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